                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 EASTERN DIVISION

                                      No. 4:24-cr-00016-M

  UNITED STATES OF AMERICA
                                                                  UNOPPOSED
      v.                                                      MOTION TO CONTINUE
                                                                ARRAIGNMENT
  SINA GHOLINEJAD


       Sina Gholinejad, by and through undersigned counsel, respectfully moves the Court to

continue the arraignment currently set for May 9, 2025. The following is offered in support of this

motion:

       1. On April 4, 2024, Mr. Gholinejad was named in a Criminal Indictment which charged

           him with fraud and money laundering.

       2. The Office of the Federal Public Defender was appointed to represent Mr. Gholinejad

           on January 15, 2025. Defense counsel filed her Notice of Appearance on January 15,

           2025.

       3. Mr. Gholinejad is currently in the custody of the United States Marshals Service and is

           being housed in the New Hanover County Detention Center.

       4. On April 24, 2025, a notice of hearing was filed and set the arraignment for May 7,

           2025, in Wilmington before Chief Judge Myers.

       5. Additional time is needed to translate court documents into Mr. Gholinejad’s native

           language of Farsi.

       6. Defense counsel respectfully requests the arraignment hearing be continued to a late

           May 2025 date.




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       7. Assistant United States Attorney Bradford DeVoe has been contacted and has no

           objection to the continuance requested herein.

       8. This motion is made in good faith and not for purposes of delay.           Neither the

           government nor the Defendant would be prejudiced by the request sought herein.

       9. The ends of justice served by this Motion outweigh the interests of the public and the

           defendant in a speedy trial.     The period of delay resulting from granting this

           continuance should therefore be excluded from the calculation of speedy trial time

           pursuant to 18. U.S.C. § 3161(h)(8)(A).

       Mr. Gholinejad respectfully requests the arraignment in this matter be continued to a late

May 2025 date or a date that the Court deems appropriate.

       Respectfully submitted this 2nd day of May 2025.

                                            G. ALAN DuBOIS
                                            Federal Public Defender

                                            /s/ Diana H. Pereira
                                            DIANA H. PEREIRA
                                            Assistant Federal Public Defender
                                            Attorney for Defendant
                                            Office of the Federal Public Defender
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                                            N.C. State Bar No. 32615
                                            LR 57.1 Counsel Appointed




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was served upon:

BRADFORD DEVOE
United States Attorney's Office - EDNC
150 Fayetteville Street, Suite 2100
Raleigh, NC 27601

by electronically filing the foregoing with the Clerk of Court on May 2, 2025, using the CM/ECF
system which will send notification of such filing to the above.

       This the 2nd day of May 2025.

                                           /s/ Diana H. Pereira
                                           DIANA H. PEREIRA
                                           Assistant Federal Public Defender
                                           Attorney for Defendant
                                           Office of the Federal Public Defender
                                           150 Fayetteville Street, Suite 450
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                                           E-mail: Diana_Pereira@fd.org
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